Case 2:22-cv-00065-GRB-ARL Document 11 Filed 01/24/23 Page 1 of 1 PageID #: 53



                                       FRANKLIN, GRINGER & COHEN, P.C.
     Glenn J. Franklin                                    ATTORNEYS AT LAW                       Ken Sutak
     Martin Gringer                                                                                  of counsel
     Steven Elliot Cohen                            666 OLD COUNTRY ROAD, SUITE 202
     Michael S. Mosscrop                           GARDEN CITY, NEW YORK 11530-2013
     Jasmine Y. Patel*                          TELEPHONE (516) 228-3131. FAX (516) 228-3136
     Danielle Mietus
     *ADMITTED TO NY AND NJ

                                                                      January 24, 2023

Via ECF
The Honorable Arlene R. Lindsay
United States Magistrate Judge for the
Eastern District of New York
100 Federal Plaza
Central Islip, New York 11722

              Re:             Zaldivar v. Levent Company, Ltd., et al.,
                              Docket No.: 22-cv-00065(GRB)(ARL)

Dear Judge Lindsay:

        We represent Defendants Levent Company, Ltd. d/b/a Shish Kebab Grill and Muslum
Levent in the above-referenced matter. We write, jointly on behalf of all parties, pursuant to the
Court’s October 13, 2022, FLSA Initial Discovery and Mediation Referral Order, ECF No. 10, to
advise the Court that the parties were not able to settle the matter on their own. As such, the parties
respectfully request that the Court refer the parties to the EDNY mediation program for formal
mediation. The parties have selected Michael McKenna, Esq., a mediator on the EDNY panel,
and are presently working with Mr. McKenna’s office to schedule a mediation date. Thus, the
parties further request that the Court provide sixty days from the date of such referral to complete
mediation.

              We thank the Court for its time and attention to this matter.

                                                              Respectfully submitted,

                                                              FRANKLIN, GRINGER & COHEN, P.C.


                                                              ____________________________________
                                                              Danielle E. Mietus, Esq.

C:            All Counsel of Record (via ECF)
